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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DERRICK COBARRIS,

   Plaintiff,

-vs-                                              CASE NO.: 8:17-CV-00287-JUD-MAP

PREMIER BANKCARD, LLC.,

   Defendant.
                                      /

                              NOTICE OF PENDING SETTLEMENT

       Plaintiff, DERRICK COBARRIS, by and through her undersigned counsel, hereby

notifies the Court that the parties, Plaintiff, DERRICK COBARRIS, and Defendants, PREMIER

BANCARD, LLC. have reached a settlement with regard to this case, and are presently drafting,

and finalizing the settlement agreement, and general release documents. Upon execution of the

same, the parties will file the appropriate dismissal documents with the Court.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

furnished via E-Mail on this 18th day of December, 2017 to all parties of record.

                                             /s/ Shaughn C. Hill, Esquire
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